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CGFD28 (10/01/16)




ORDERED in the Southern District of Florida on April 28, 2023




                                                                                                  Peter D. Russin
                                                                                                  United States Bankruptcy Judge



                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov
                                                                                                                Case Number: 17−17471−PDR
                                                                                                                Chapter: 13



In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Graciela Del Val                                                              Enrique Luis Riu Hernandez
aka Graciela Lujan Del Val                                                    12520 SW 15 Manor
12520 SW 15th Manor                                                           Fort Lauderdale, FL 33325
Fort Lauderdale, FL 33325
                                                                              SSN: xxx−xx−5775
SSN: xxx−xx−6085




                                                              FINAL DECREE



The trustee, Robin R Weiner, having filed a final report that the estate has been fully administered, is
discharged and the case is closed.
